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Karin M. Gunter, Esquire
PA ID No. 79852
Law Office of Karin M. Gunter
85 Old Cedarbrook Road
Wyncote, PA 1905                                                  ATTORNEY FOR PLAINTIFF,
(215) 548-9992                                                    MAURICE A. GOODWIN


                           IN T H E UNITED S T A T E S D I S T R I C T C O U R T
                        FOR T H E EASTERN DISTRICT OF PENNSYLVANIA


MAURICE A. G O O D W I N ,
            Plaintiff                                                     Civil Action No.:

        V.
                                                                          J U R Y TRIAL DEMANDED
PHILADELPHIA G A S W O R K S and.
 G A S W O R K S E M P L O Y E E S ' UNION L O C A L 686
                 Defendants.


                                               COMPLAINT

                                         Preliminary Statement

        This action is brought by an employee against his employer and his labor union

(collectively "Defendants") for discrimination based on race and color in violation of Title VII of

the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e-1 et seq. ("Title VII");

Pennsylvania Human Relations Act, a s amended, 43 P . S . §§ 951-963 ("PHRA"); Section 1983

of the Civil Rights Act of 1871, a s amended, 42 U.S.C. § 1983 ("Section 1983"); and for

violation of his rights under the Civil Rights Act of 1866, a s amended, 42 U.S.C. §1981 a

("Section 1981 A").

        Plaintiff seeks front pay, back pay, compensatory and punitive damages, attorney's

fees, expert fees, costs and such other relief a s this Court deems just and proper.

                                        Jurisdiction and Venue

        1.   Original jurisdiction over Plaintiff's federal question claims is conferred upon this

Court pursuant to 42 U.S.C. § 2000e-5(f)(1) and 28 U.S.C. §§ 1331 and 1343. Supplemental

jurisdiction over Plaintiff's state law claims is conferred upon this Court pursuant to 28 U.S.C. §
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1367(a).

        2. Venue lies in this district by 28 U.S.C. § 1391(b) and (c) in that all actions

complained of occurred and Defendant resides in this district.

        3. Plaintiff has exhausted his administrative remedies under Title VII and PHRA.

        4. On or about October 3, 2018, Plaintiff dually filed an administrative complaint against

Defendants Philadelphia G a s Works ( " P G W or "Employer") and G a s Works Employees' Union

Local 686 ("Local 686" or "Union") with United States Equal Employment Opportunity

Commission ( " E E O C " ) and the Pennsylvania Human Relations Commission ("PHRC") alleging

race and color discrimination.

        5. On or about July 3, 2019, Plaintiff received E E O C ' s Notice of Right to Sue letters for

his claims against both defendants.

            True and correct copies of E E O C ' s Right to Sue Letters are attached as Exhibit "A".

       6. Plaintiff anticipates receiving a similar closure letter from the P H R C .

                                                 Parties

       7. Plaintiff M A U R I C E A. GOODWIN ("Plaintiff" or "Goodwin") is an adult person and a

citizen of the United States. Plaintiff resides in Philadelphia, Pennsylvania. At all times relevant

to this action. Plaintiff w a s employed by Defendant P G W and a dues paying member of

Defendant Local 686.

       8. Defendant P H I L A D E L P H I A G A S W O R K S is a municipality owned gas utility

company. It is headquartered at 800 W. Montgomery Avenue, Philadelphia, PA 19122 with

more than 500 employees.

       9. Defendant G A S W O R K S E M P L O Y E E S ' UNION L O C A L 686 is a trade and labor

union and is part of the Utility Works Union of America. It is headquartered at 9190 Marshall

Street, Philadelphia, PA 19154 with more than 500 members.

                                             Factual Allegations

       10. Plaintiff is an African American male.
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         11. Plaintiff is a black and/or brown male.

         12. Defendant P G W hired Plaintiff on or about February 8, 2012 as a L a b o r e r -

Distribution Worker.

         13. Plaintiff became a Process Operator 1/Senior Process Operator since January 6,

2017, and is currently employed a s a Senior Process Operator at P G W G a s Processing

Operations Passyunk Plant ("Passyunk Plant").

         14. At all times relevant At all times relevant to this action, the following exists:

             a. John Zuk ("Zuk")(Caucasian), P G W Vice President of G a s Processing.

             b. J a m e s Kluzinski ("Kluzinski")(Caucasian), P G W management.

             c.   Brian McGuire ("McGuire")(Caucasian) is Plant Management at Passyunk plant

since on or about late 2014.

             d. David Martinez ("Martinez")(Caucasian Hispanic) is General Supervisor at

Passyunk plant since on or about August 2015.

            e.    Ryan O'Donnell ("0'DonneH")(Caucasian) is Operation Supervisor at Passyunk

plant.

            f.    Thomas Mack ("Mack")(Caucasian) is a Senior Safety Representative at

Passyunk plant.

            g. John Mullin ("Mullin")(Caucasian) is Operation Supervisor at Passyunk plant.

            h. Wallace Benson ("Benson")(African American) is Operation Supervisor at

Passyunk plant.

            i.    Michael Tomczak ("Tomczak")(Caucasian) is a Working Foreman at Passyunk

plant.

            j.    J o s e Ortiz ("Ortiz")(Caucasian Hispanic) is a Working Foreman at Passyunk

plant.

            k.    Gary Nelson ("Nelson")(African American) is a Working Foreman at Passyunk

plant.
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             I.    Miguel Chavarria, Jr. ("Chavarria")(African American) is a Working Foreman at

 Passyunk plant.

             m. Dwayne Ackie ("Ackie")(African American) is a Senior Process Operator

(Operator 1) at Passyunk plant.

             n. John Jenkins ("Jenkins")(African American) w a s a Process Operator at

Passyunk plant.

             0.   Pat McGlone ("McGlone")(Caucasian) w a s a Process Operator 2 at P G W G a s

Processing - Richmond Plant ("Richmond Plant")

             p. John Macomer ("Macomber")(Caucasian Hispanic) w a s a Process Operator 2 at

Richmond plant.

             q. Mark Gaydosh ("Gaydosh")(Caucasian) is a Union Local 686 representative at

Passyunk plant.

             r.   J a m e s Gill ("GiH")(Caucasian Hispanic) is a Union Local 686 representative at

Passyunk plant.

                                               COUNT I
                                           Plaintiff V. PGW
                                   Race and Color Discrimination -
                                              Retaliation

         15. Plaintiff re-avers and incorporates by reference all averments in all paragraphs,

supra.

         16. Plaintiff is a member of a protected class.

         17. Plaintiff is qualified for the position of Senior Process Operator.

         18. On or about December 2017, Chavarria filed an internal complaint with P G W

regarding discrimination at the Passyunk plant regarding hostile work environment, stalking,

harassment, scheduling and other employment practices against himself and other African

American, black and brown coworkers ("Internal Complaint").

         19. A s part of that internal discrimination complaint, P G W conducted interviews of
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various Passyunk plant employees including Plaintiff.

         20. P G W representative, Matthew Rohrer ("Rohrer") interviewed Plaintiff on or about

January 2018 as part of the internal discrimination complaint filed by Chavarria.

         21. P G W representatives also interviewed Ackie and Chavarria, inter alia.

         22. On or about February 2018, Passyunk plant management began to retaliation

against African American, black and brown employees who interviewed with P G W

representatives regarding Chavarria's internal complaint.

         23. During the investigation and continuing after, plant management began making new

rules and/or changing longstanding rules that had never been practiced or enforced at the

plant.

         24. For example, on February 16, 2018, Benson and Mullin were sitting in the LNG

Control Room at Passyunk plant. Plaintiff w a s standing in the doorway.

         25. Mullin told Plaintiff that Goodwin had to pick up trash. Plaintiff responded that he

was not going to pick any trash up. Mullin started to say something else to Plaintiff, when

Plaintiff interrupted Mullin and said "I know they [McGuire and Martinez] sent you down here to

tell me that but I'm not picking no trash up."

         26. Plaintiff knew McGuire and Martinez sent Mullin to tell Plaintiff to pick up trash

because McGuire and Martinez had started to retaliate against Chavarria and Ackie for

participating in the internal complaint interviews, and Plaintiff thought he would be next.

         27. Further, since the interviews, most of the white people at Passyunk plant do not talk

to Plaintiff anymore.

         28. Moreover, before Chavarria's internal complaint and Plaintiff's interview, Passyunk

plant management never told him to pick up trash. E V E R .

         29. Mullin went to Martinez, who called Plaintiff in the L N G Control Room and asked

Plaintiff "Did you say you weren't going to pick up trash?" Plaintiff answered, "Yeah. I'm not

going to pick up trash."
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         30. Martinez then repeated to Plaintiff what Plaintiff said to Mullin. Martinez then

 mentioned something about salt bags used in the boiler room have been flying around all over

the place, and "you have to pick them up." Plaintiff replied, "I'll pick up salt bags because we're

the ones that put them in the dumpster. You made it seem like I w a s supposed to be walking

around picking up Dorito bags."

         31. Martinez then asked Plaintiff if he understood, and Plaintiff responded, "Yeah. I'm to

pick up salt bags, not Dorito bags. We have a whole yard gang to pick up trash."

         32. Plaintiff understands the policy to be that everyone is to pitch in to pick up trash if

the yard gang and/or maintenance crew are unavailable to pick up trash. But on the day Mullin

and Martinez instructed Plaintiff to do so, both the yard gang and maintenance crew were there

to pick up all trash.

        33. Three weeks later. Plaintiff learned that Zuk wanted Plaintiff fired over the trash pick-

up incident.

        34. Plaintiff reasonably believes Mullin's, Martinez's and Zuk's actions were retaliation

since O'Donnell and Tomczak stole 3 hours of company time and w a s not fired (Christmas Day

2017 incident) but P G W management wanted to fire him for not picking up trash.

        35. Furthermore, on May 27, 2018, Plaintiff w a s scheduled to work the 6:00 a.m. to 6:00

p.m. shift. He w a s going to call out for the 6:00 a.m. shift, however, Benson approved him to

come in for 10:00 a.m. to 6:00 p.m. shift. Plaintiff came to work on May 27, 2018 at 9:50 a.m.

        36. Despite Plaintiff being approved for that shift change, McGuire and Martinez

approached Plaintiff and demanded to see Plaintiff's phone and phone list for May 27, 2018.

Plaintiff asked them why, and Martinez answered, "To prove that you called before 6:00 a.m.

[on May 27, 2018]. Plaintiff looked his phone and told McGuire and Martinez he did not have

his phone call list. Both men left. A s a union member, neither McGuire nor Martinez should

have approached Plaintiff without his union representative being present, since there was a

possible disciplinary action at issue.
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         37. McGuire and Martinez tried to write Plaintiff up for a disciplinary action saying he

 was 3 hours and 50 minutes late to work on May 27, 2018.

         38. Local 686 later filed a grievance on Plaintiff's behalf regarding the May 27, 2018

 matter. This matter is still being investigated, and Plaintiff is not clear whether the disciplinary

action is off his record.

        39. But, on or about July 22, 2018, Nelson, who did not participate in the interviews

regarding the internal complaint, had a scheduling change in his shift identical to Plaintiff's May

27, 2018 shift change. However, this time Martinez approved Nelson's shift change and had

Benson make the change.

        40. Plaintiff reasonably believes the reason for the difference in handling of Nelson's and

Plaintiff's shift changes w a s because Nelson did not participate in the interviews for Chavarria's

internal complaint.

        4 1 . Another example occurred on June 5, 2018 when Plaintiff took a mandatory T P C

training test, which is an operations qualification test ("OQ Test").

        42. While in the "library" at the Passyunk plant. Plaintiff had his feet on another chair

while watching the interactive video. His back was towards the door, which w a s to his right side

a few feet behind him/

        43. At one point. Plaintiff heard something behind him, so he turned to see Debbie

Decolli ("Decolli")(Caucasian) poking her head in the room. Plaintiff spoke to Decolli, who

spoke to Plaintiff and left the room. Decolli never returned to the room.

        44. Later, Plaintiff once again heard something at the door and turned to see McGuire

poking his head in the door. McGuire asked Plaintiff, "Are you comfortable?" Plaintiff replied,

"No, I'm not comfortable. It's no air in here and it's hot." McGuire then responded, "Put your

feet down, and put your boots on." He then left. Plaintiff finished taking the training.

       45. On June 7, 2018, there w a s a safety meeting for the entire plant. After the meeting,

Gaydosh and Gill approached Plaintiff and asked Plaintiff if he w a s sleep in the room. Plaintiff
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 responded, "No, I wasn't sleep." Gaydosh said, "Because Debbie said she saw you sleep."

 Plaintiff responded, "I wasn't sleep."

        46. Gaydosh, Gill and Plaintiff then went inside the smaller conference room at the plant

where McGuire and Martinez were waiting. McGuire said Debbie saw Plaintiff sleep and told

him. Plaintiff once again denied the allegations. At no point during this discussion did anyone

say that McGuire also came to the "library." Neither Decolli nor McGuire came into the room

but simply poked their heads in.

        47. Furthermore, Decolli did not attend the meeting on June 7, 2019.

        48. Despite these facts, Passyunk plant management gave Plaintiff a written warning

saying he violated corporate discipline policy.

        49. Furthermore, between June 4, 2018 and June 18, 2018, McGuire and Martinez kept

asking Benson, Ackie and Plaintiff how the May 27, 2018 situation happened.

        50. On June 18, 2018, McGuire called Plaintiff in a meeting with Kluzinski, McGuire,

Gaydosh and Gill.

        51. Kluzinski opened the meeting, introduced himself and said P G W was going to

remove (withdraw) the disciplinary action. When asked if he had something to say. Plaintiff

responded, "My whole time I've been here, I've never been in trouble. Now, since the time

Tomczak was clocked in by O'Donnell [Christmas 2017], every time I turn around, I'm in this

room. It's funny that with the Tomczak incident, not one time did Brian [McGuire] or Dave

[Martinez] come down and ask us what happened. It seems like retaliation to me." At that point,

Kluzinski ended the meeting and the written warning, which would have caused Plaintiff to

receive a one day suspension, w a s withdrawn.

        52. Furthermore, since the interviews. Plaintiff has requested days off, which were

initially approved, then taken back; has been denied call outs, while others in the plant are

granted call outs; and is being ostracized by non-protected class employees including plant

management personnel: McGuire, Martinez, O'Donnell and Mack, inter alia.
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          53. A s a result of these and continuing actions by plant management, Plaintiff has been

under tremendous stress, not being able to sleep well and always watching his back, double

checking his work for fear someone will sabotage his work or job performance. It is taking a toll

on Plaintiff physically and emotionally.

          W H E R E F O R E , Plaintiff respectfully requests this Honorable Court enter judgment in

him favor and against Defendant P G W in the form of front pay, back pay, compensatory and

punitive damages, attorney's fees, expert fees, costs and such other relief as this Court deems

proper.

                                               COUNT II
                                  Plaintiff v. PGW and Local 686
                                 Race and Color Discrimination -
                        Hostile Work Environment (Continuing Violations)

          54. Plaintiff re-avers and incorporates by reference all averments in all paragraphs,

supra.

          55. McGuire created and continues to create a hostile work environment segregated by

race and color.

          56. In November 2017, L N G truck unloading w a s done at the Passyunk plant by three

process operator: Ackie, Stephen Edwards ("Edwards") and Plaintiff. No foreman was used for

this process but Operation Supervisors were scheduled.

          57. On Christmas day 2017, Tomczak w a s scheduled to begin work at 6:00 p.m. He

was suppled to replace Ortiz, who w a s finished his shift at 6:00 p.m.

          58. That same day. Plaintiff worked the B Shift - 6:00 p.m. to 6:00 a.m., and replaced

Ackie. But at the time Plaintiff reported to work, Tomczak w a s not present. Tomczak did not

report to work until 9:00 p.m., but his time sheet showed him a s being clocked in at 6:00 p.m.

          59. O'Donnell clocked In Tomczak on December 25, 2017.

          60. McGuire and Martinez never asked Plaintiff about the Tomczak/O'Donnell Christmas

Day 2017 stealing time incident.
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        6 1 . During the investigation of the internal complaint and continuing thereafter, plant

management created a work environment became unsafe and hostile against African

American, black and brown employees at the Passyunk plant.

        62. In January 2018, there w a s another L N G truck unloading at Passyunk plant.

        63. At that time. Plaintiff, Ackie and Jenkins were available to do the L N G truck

unloading. There w a s no need to bring in process operators from the Richmond plant.

        64. In continuance of Passyunk plant management's retaliation against African

American, black and brown employees, McGuire approved bringing in McGlone and Macomber

from the Richmond plant for one month to do L N G truck unloading at Passyunk plant. This is

work Plaintiff, Ackie and Jenkins could/should have performed.

        65. Since Plaintiff's time at Passyunk plant, management never brought in workers from

the Richmond plant to do the L N G truck unloading.

        66. Plaintiff reasonably believes Passyunk plant management brought in other process

operators to retaliate against him and Ackie for participating in the interviews related to the

internal complaint.

        67. For the first 2 to 3 weeks, McGlone and Macomber worked 12 hour days, thereby

earning overtime hours and pay. Before the internal complaint w a s filed in December 2017,

McGuire and other Passyunk plant management would offer this overtime work to Plaintiff,

Ackie or Jenkins.

       68. However, on the last week of their time at Passyunk plant, McGuire cut McGlone

and Macomber's work to 8 hour days. Thus, they also did not receive overtime.

       69. When McGlone complained to McGuire about the decrease in time, McGuire stated

to him "Give me time because I have 'bad apples' here."

       70. Plaintiff and Ackie initiated a grievance with Local 686 on February 2 1 , 2018, to

which McGlone and Macomber later joined complaining of the use Richmond workers for

overtime and the reduced hours related to the L N G truck unloading project.
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         71. The same day McGlone and Macomber joined the grievance, Macomber received a

call from Coleman encouraging him to take his name off the grievance because of the problems

at Passyunk plant. Coleman also told Macomber that Gaydosh could take his name off the

grievance.

        72. Local 686 continues to act more like representatives of management rather than

union employees in matters against P G W , which furthers the hostile work environment.

        73. The discrimination against against African American, black and brown males is so

pervasive that Macomber noticed and witnessed it.

        74. Though filed in February 2018, in April 2018 Local 686 decided not to further

investigate the matter but did not notify Plaintiff of its decision until July 28, 2018, when

Goodwin asked for copies of the grievance.

        75. In the grievance, which is number 18-08-02, Macomber's name w a s removed.

        76. Local 686 representatives and leadership continues to co-sign plant management

decisions, and fails to provide independent investigation and representation of African

American, black and brown members, thereby promoting the continuing, persistent hostile work

environment.

        77. Based on the foregoing. Plaintiff avers Defendants violate P H R A , Title VII and

Section 1983 as follows:

             a.   Plaintiff is and w a s subjected to continuing and persistent race and color

discrimination in the terms and conditions of his employment regarding scheduling of work

assignments, overtime, inter alia.

             b. Plant management's and Local 686's conduct via McGuire, Martinez, Gaydosh,

inter alia, is not welcomed by Plaintiff.

             c.   Plant management's and Local 686's conduct w a s motivated by the fact that

Plaintiff is African American, brown and/or black male.

             d. Plant management's and Local 686's conduct is so severe or pervasive that a
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reasonable person in Plaintiff's position would find his work environment to be hostile or

abusive.

             e.   Plaintiff believes his work environment to be hostile or abusive as a result of

plant management and Local 686 via McGuire's, Martinez's, Gaydosh's, inter alia, conduct.

             f.   Plaintiff suffered an adverse tangible employment action a s a result of the hostile

work environment

         W H E R E F O R E , Plaintiff respectfully requests this Honorable Court enter judgment in

him favor and against Defendant P G W in the form of front pay, back pay, compensatory and

punitive damages, attorney's fees, expert fees, costs and such other relief a s this Court deems

proper


                                                          Respectfully submitted:

                                                          LAW O F F I C E O F KARIN M. G U N T E R




                                                          Karih M. Gunter, Esquire
                                                          PA Supreme Court Id; 79852
                                                          85 Old Cedarbrook Road
                                                          Wyncote, PA 19095
                                                          (215) 548-9992
                            Case 2:19-cv-04429-GJP Document 1 Filed 09/24/19 Page 13 of 15
 E E O C Form 161 (11/16;                          U.S.     E Q U A L E M P L O Y M E N T O P P O R T U N I T Y COMMISSION


                                                              DISMISSAL AND NOTICE OF RIGHTS
 To:     M a u r i c e A. G o o d w i n                                                                       From:     P h i l a d e l p h i a District Office
         2111 bridge St                                                                                                 801 Market Street
         P h i l a d e l p h i a , P A 19124                                                                            S u i t e 1300
                                                                                                                        Philadelphia, P A 19107



                                   On behalf of person(s)      aggrieved        whose identity is
                                   CONFIDENTIAL         (29 CFR §1601.7(a))
 E E O C Charge No.                                         E E O C Representative                                                                           Telephone No.

                                                            L e g a l Unit,
 530-2018-04754                                             Legal Technician                                                                                 (215) 440-2828

 T H E E E O C IS C L O S I N G I T S F I L E O N T H I S C H A R G E F O R T H E F O L L O W I N G R E A S O N :
                     The facts alleged in the charge fall to state a claim under any of the statutes enforced by the E E O C .


                     Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


                     The Respondent employs less than the required number of employees or is not othenA/ise covered by the statutes.


                     Your charge w a s not timely filed with E E O C ; in other words, you waited too long after the date(s) of the alleged
                     discrimination to file your charge

                     The E E O C issues the following determination: B a s e d upon its investigation, the E E O C is unable to conclude that the
                     information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                     the statutes. No finding is made a s to any other issues that might be construed a s having been raised by this charge.

                     The E E O C has adopted the findings of the state or local fair employment practices agency that investigated this charge.


                     Other (briefly     state)



                                                                       - NOTICE OF SUIT RIGHTS -
                                                               (See   the additional Information          attached to this   form.)

Title VII, the A m e r i c a n s with D i s a b i l i t i e s A c t , the G e n e t i c Information N o n d i s c r i m i n a t i o n A c t , o r the A g e
D i s c r i m i n a t i o n in E m p l o y m e n t A c t : T h i s will be the only notice of d i s m i s s a l a n d of your right to s u e that w e will s e n d y o u .
Y o u m a y file a lawsuit a g a i n s t the r e s p o n d e n t ( s ) under f e d e r a l l a w b a s e d on this c h a r g e in f e d e r a l or state court. Y o u r
l a w s u i t m u s t be filed W I T H I N 90 D A Y S of y o u r r e c e i p t o f t h i s n o t i c e ; or your right to s u e b a s e d on this c h a r g e will b e
lost. ( T h e time limit for fliing suit b a s e d on a ciaim under s t a t e l a w m a y be different.)


E q u a l P a y A c t ( E P A ) : E P A suits m u s t be filed in federal or s t a t e court within 2 y e a r s ( 3 y e a r s for wiilful vioiations) of the
aiieged E P A u n d e r p a y m e n t . T h i s m e a n s that b a c k p a y d u e for a n y v i o l a t i o n s that o c c u r r e d m o r e t h a n 2 y e a r s (3 y e a r s )
before y o u file suit m a y not be c o l l e c t i b l e .

                                                                                             behalf of the Commission



 Enclosures(s)
                                                                                   J a m i e R. W i l l i a m s o n ,                                                (Date   tvlalled)
                                                                                       D i s t r i c t Director
 cc:          PHILADELPHIA GAS W O R K S
              Brett Z a h o r c h a k , E s q . ( F o r R e s p o n d e n t )                               K a r i n G u n t e r , E s q . ( F o r C h a r g i n g Party)
              Senior Attorney                                                                               A t t o r n e y at L a w
              800 W. M o n t g o m e r y A v e , 4'*^ F l o o r                                             85 Old C e d a r b r o o k R o a d
              P h i l a d e l p h i a , P A 19122                                                           Wyncote, P A 19095
                                  Case 2:19-cv-04429-GJP         Document 1 Filed 09/24/19 Page 14 of 15
                                             U.S. E Q U A L E M P L O Y M E N T O P P O R T U N I T Y COMMISSION
 E E O C Form 161 ( 1 1 / 1 6 )



                                                                 DISMISSAL AND NOTICE OF RIGHTS
 To;       M a u r i c e A. G o o d w i n                                                                       From;       P h i l a d e l p h i a D i s t r i c t Office
           2111 B r i d g e s t                                                                                             801 Market S t r e e t
           P h i l a d e l p h i a , P A 19124                                                                              S u i t e 1300
                                                                                                                            P h i l a d e l p h i a , P A 19107



                                       On behalf of person(s)      aggrieved      whose identity Is
                                       CONFIDENTIAL      (29 CFR §1601.7(a))
 E E O C Charge No.                                             E E O C Representative                                                                              Telephone No.

                                                                L e g a l Unit,
 530-2019-00185                                                 Legal Technician                                                                                    (215) 4 4 0 - 2 8 2 8

 T H E E E O C IS C L O S I N G I T S F I L E O N T H I S C H A R G E F O R T H E F O L L O W I N G R E A S O N :
                          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the E E O C .


                          Your allegations did not involve a disability a s defined by the Americans With Disabilities Act.


                          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


                          Your charge w a s not timely filed with E E O C ; in other words, you waited too long after the date(s) of the alleged
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                          The E E O C issues the following determination: Based upon its investigation, the E E O C is unable to conclude that the
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                          The E E O C has adopted the findings of the state or local fair employment practices agency that investigated this charge.


                          Other (briefly   state)



                                                                          - NOTICE OF SUIT RIGHTS -
                                                                   (See the additional      Information     attached     to this form.)

Title VII, the A m e r i c a n s with D i s a b i l i t i e s A c t , t h e G e n e t i c Information N o n d i s c r i m i n a t i o n A c t , or the A g e
D i s c r i m i n a t i o n in E m p l o y m e n t A c t : T h i s will be the only notice of d i s m i s s a l a n d of your right to s u e that w e will s e n d y o u .
Y o u m a y file a lawsuit a g a i n s t the r e s p o n d e n t ( s ) u n d e r f e d e r a l law b a s e d o n this c h a r g e in f e d e r a l or state court. Y o u r
lawsuit m u s t be filed W I T H I N 90 D A Y S of y o u r r e c e i p t o f t h i s n o t i c e ; or your right to s u e b a s e d on this c h a r g e will be
lost. ( T h e time limit for filing suit b a s e d on a claim under state law m a y be different.)


E q u a l P a y A c t ( E P A ) : E P A suits m u s t be filed in f e d e r a l or state court within 2 y e a r s ( 3 y e a r s for willful violations) of the
aiieged E P A u n d e r p a y m e n t . T h i s m e a n s that b a c k p a y d u e for any v i o l a t i o n s that o c c u r r e d m o r e than 2 y e a r s (3 y e a r s )
before y o u file s u i t m a y not be c o l l e c t i b l e .

                                                                                                             the Commission



 Enclosures(s)                                                                      J a m T e R. W i l l i a m s o n ,                                                       (Date   Ivlailed)
                                                                                         District D i r e c t o r
                  G a s W o r k e r s E m p l o y e e s Union L o c a l 686
                  Nicholas J . Botta, E s q . ( F o r R e s p o n d e n t )                                ^ a r i n G u n t e r , E s q . ( F o r C h a r g i n g Party)
                                Attorney                                                                     A t t o r n e y at L a w
                  230          B r o a d St rnte 1 4 0 0                                                  85 O l d C e d a r b r o o k R o a d
                  P h i l a d e l p h i a , P A 19102                                                                                .,9095
           Case 2:19-cv-04429-GJP Document 1 Filed 09/24/19 Page 15 of 15



                                             VERIFICATION

    I, M A U R I C E A. G O O D W I N , am Plaintiff in the foregoing pleading. I hereby verify that the

averments set forth in the herein Complaint of Discrimination are true and correct, to the best of

my knowledge, information and belief. I understand that false statements herein are made

subject to the penalties of 18 Pa.C.S.A. section 4904, relating to unsworn falsification to

authorities and 28 U.S.C. section 1746 unsworn declarations under penalty of perjury.



          q
Dated: _ ^ ^ _ 2 ^           2019
                                                  Maurice A. Goodwin
